Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 1 of 27




                 EXHIBIT 3
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 2 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 3 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 4 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 5 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 6 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 7 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 8 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 9 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 10 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 11 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 12 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 13 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 14 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 15 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 16 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 17 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 18 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 19 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 20 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 21 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 22 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 23 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 24 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 25 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 26 of 27
Case 1:07-cv-00241-L-LDA   Document 57-4   Filed 02/29/2008   Page 27 of 27
